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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                                                                      FILED
                                                                                   U.S. DISTRICT COURT
                                                                               EASTERN
                                                                                        DISTRICT ARKANSAS

        JABARI ZAKI CUMMINS,                       §                                 DEC O7 2021
                                                   §                          TAMMY H. DOWMS. CLERK
                            Movant,                §                        By:    :?~-·
                                                                                                  DEPCLER.K
                                                   §
        V.                                         § Crim No. 4:17-cr-00111-JM-9
                                                   §
        UNITED STATES OF AMERICA,                  §
                                                   §
                            Respondent.            §

               MOTION FOR COMPASSIONATE RELEASE PURSUANT TO
                18 U.S.C. § 3582(C)(l)(A) AND FIRST STEP ACT OF 2018

              COMES Movant, JABARI ZAKI CUMMINS ("Cummins"), appearing prose,

        and respectfully moves the Court under 18 U.S.C. § 3582(c)(l)(A)(i) to modify his

        sentence and immediately release him to home confinement and a period of supervised

        release. The unprecedented threat of COVID-19 poses extraordinary risks to Cummins'

        health. The virus thrives in densely packed populations, and the FCI is ill-equipped to

        contain the pandemic and prevent COVID-19 from becoming a de facto death sentence

        for Cummins. Cummins' diagnosed medical conditions make him especially vulnerable

        to the deadly risks of COVID-19. Allowing Cwnmins to finish out his sentence at home

        is the only prudent response to the extraordinary and compelling circumstances created

        by the novel coronavirus.
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                                          I. JURISDICTION

            The district court's jurisdiction to correct or modify a defendant's sentence is

    limited to those specific circwnstances enwnerated by Congress in 18 U.S. C. § 3582.

    The scope of a proceeding under 18 U.S.C. § 3582(c)(2) in cases like this one is

    extremely limited. Dillon v. United States, 130 S.Ct. 2683, 2687(2010). It is

    black-letter law that a federal court generally "may not modify a term of imprisonment

    once it has been imposed." Id. However, Congress has allowed an exception to that

    rule "in the case of a defendant who has been sentenced to a term of imprisonment

    based on a sentencing range that has subsequently been lowered by the Sentencing

    Commission." 18 U.S.C. § 3582(c)(2); see also, Freeman v. United States, 131 S.Ct.

    2685 (2011) (reciting standard for sentence modifications). Such defendants are entitled

    to move for retroactive modification of their sentences. Dillon, 130 S.Ct. at 2690-91.

                                II. STATEMENT OF THE CASE

           A.      ProceduralBacground

           On May 5, 2017, a grand jury sitting in the United States District Court for the

    Eastern District of Arkansas, Central Division, returned a sixty-seven (67) count

    Indictment charging Cummins and thirty-three other co-defendants. See Doc. 3. 1 Count


           "Doc." refers to the Docket Report in the United States District Court for the Eastern District
    of Arkansas, Central Division, in Criminal No. 4: 17-cr-00111-JM-9, which is immediately followed
    by the Docket Entry Number.

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1 charged Cummins with Conspiracy to Possess with Intent to Distribute Heroin, in

violation of21 U.S.C. §§ 846, 841 (a)(l) and (b)(1 )(B). Id. Count 20 charged Cummins

with Possession with Intent to Distribute at Least 100 Grams of Heroin, in violation of

21 U.S.C. §§ 841(a)(l) and(b)(l)(B).ld. Count21 charged Cummins with Possession

with Intent to Distribute Fentanyl, in violation of21 U.S.C. §§ 841 (a)(l) and (b)(1 )(C).

Id. Count 22 charged Cummins with Possession with Intent to Distribute Cocaine, in

violation of21 U.S.C. §§ 841(a)(l) and (b)(l)(C). Id. Count44 charged Cummins with

Use of Communication Facility to Facilitate a Drug Trafficking Crime, in violation of

21 U.S.C. § 843(b). Id.

      On April 18, 2018, a Change of Plea Hearing was held and Cummins entered a

plea of guilty to Count 1 of the Indictment, pursuant to a written Plea Agreement. See

Docs. 514, 515.

      On September 5, 2018, Cummins was sentenced to a term of 188 months'

imprisonment, 5 years of Supervised Release, no Fine or Restitution, and a Mandatory

Special Assessment Fee of$100. See Docs. 636,637.



      B.     Statement of the Facts

              1.    Offense Conduct

      The government and Cummins, through the advise of his counsel, stipulated that

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the following facts are true [Doc. 515 at 5-6]:

      In December 2015, FBI and the North Little Rock Police Department
      began investigating a drug-trafficking organization, distributing crack
      cocaine in the downtown North Little Rock area. Throughout the
      investigation, FBI identified several targets in both Little Rock and North
      Little Rock, and obtained several wiretaps, including wiretaps on
      telephones used by Aaron Laray Clark, aka "Black," the user of Target
      Phones 7 and 9. Analysis of Target Phones 7 and 9 revealed that Clark
      supplied the defendant, Jabari Cummins, with ounce quantities of heroin,
      which Cummins redistributed to others. For example, on September 25,
      2016, in Call No. 63 7 at 11 :30 a.m. on Target Phone 7, Clark called
      Cummins at (501) 257-7176. During the call, Cummins asked Clark to
      come see him and to bring a gun and heroin. Specifically, Cummins asked
      Clark to "do that again for me," and then said, "you know what I'm
      talking about?" Clark responded, "nab," and asked Cummins ifhe wanted
      him to, "put it back for you or bring you another one?" Cummins said,
      "nab, just do the same thing you gave me, think they were ten, wasn't it,"
      meaning ten ounces of heroin. Later, on November 9, 2016, in Call No.
      1417 at 8:12 p.m. on Target Phone 9, Cummins, using (501) 442-1050,
      called Clark to arrange a time to meet to get more drugs. During the call,
      Clark warned Cummins not to sell any drugs to "John," one of their
      heroin customers, because "John" had been arrested and may talk to the
      police. After agents positively identified Cummins from the wiretaps,
      agents learned that Cummins had been involved in a high-speed chase
      with Little Rock police officers on February 28, 2016. Cummins crashed
      the truck he was driving near a residence at 27 Dellwood Drive and fled
      the scene. Inside the truck, officers found 114.5273 grams of heroin,
      16.2062 grams of fentanyl, and 23.9209 grams of cocaine. Cummins
      agrees that the amount of heroin attributable to him throughout the
      conspiracy period is at least 700 grams but less than 1 kilogram.

             2.     Plea Proceeding

      On April 18, 2018, a Change of Plea Hearing was held before Judge James M.

Moody Jr. See Doc. 514. Cummins pied guilty to Count 1 of the Indictment, pursuant

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to a written Plea Agreement. See Doc. 515. In Exchange for Cummins' guilty plea, the

government agreed to move for dismissal of the remaining counts (Counts 20, 21, 22,

and 44). Id. at 1.

              3.     Sentencing Proceeding

       On September 5, 2018, a Sentencing Hearing was held before Judge James M.

Moody Jr. See Doc. 636. The Court sentenced Cummins to a term of 188 months on

Count 1; followed by 5 years supervised release; and was ordered to pay a Mandatory

Special Assessment Fee of $100. See Doc. 637. Counts 20, 21, 22, and 24 of the

Indictment were dismissed on the motion of the government. Id. at 1. No direct appeal

was filed in this case.

                                 III. DISCUSSION

       As a preliminary matter, Cummins respectfully requests that the Court be mindful

that prose pleadings are construed liberally. See Solomon v. Petray, 795 F.3d 777, 787

{8th Cir. 2015); Estelle v. Gamble, 429 U.S. 97 (1976) (same); and Haines v. Kerner,

404 U.S. 519 (1972) (same).



      A.      Federal Courts Have the Jurisdiction and Power to Reduce An
              Existine Sentence

      This Court has the power to adjust Cummins' sentence. District courts no longer


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need a motion from the Bureau of Prisons to resentence a federal prisoner under the

compassionate release provisions of18 U.S.C. §3582(c)(l)(A)(i). A district court may

now resentence if the inmate files a motion after exhausting administrative remedies.

The reasons that can justify resentencing are not limited to medical, age, or family

circumstances. A district court may resentence ifthe inmate demonstrates extraordinary

and compelling reasons for a sentence reduction. Such reasons are present in this case.

             1.     Historical Framework

      Congress first enacted the compassionate release provisions in 18 U.S. C. § 3 582

as part of the Comprehensive Crime Control Act of 1984. That legislation provided that

a district court could modify a final term of imprisonment when extraordinary and

compelling reasons warrant such a reduction. 18 U.S.C. §3582(c)(l)(A)(i). In 1984,

this provision was conditioned on the Bureau of Prisons (BOP) filing a motion in the

sentencing court. Absent a motion by the BOP, a sentencing court had no jurisdiction

to modify an inmate's sentence. Congress did not define what constitutes an

"extraordinary and compelling reason," but the legislative history recognized that the

statute was intended, in part, to abolish and replace federal parole. Rather than have the

parole board review for rehabilitation only, Congress authorized review for changed

circumstances:

      The Committee believes that there may be unusual cases in which an

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      eventual reduction in the length of a term of imprisonment is justified by
      changed circumstances. These would include cases of severe illness,
      cases in which other extraordinary and compelling circumstances justify
      a reduction of an unusually long sentence, and some cases in which the
      sentencing guidelines for the offense of which the defender was convicted
      have been later amended to provide a shorter term on imprisonment. S.
      Rep. No. 98-225 at 55-56 (1983).

       18 U.S.C. §3582 acts as a "safetyvalve"forthe "modificationofsentences"that

would previously have been addressed through the former parole system. Id. at 121.

The provision was intended "to assure the availability of specific review and reduction

of a term of imprisonment for "extraordinary and compelling reasons" and [would

allow courts] to respond to changes in the guidelines." Id. Thus, sentencing courts have

the power to modify sentences for extraordinary and compelling reasons.

             2.     Section 3582(c)(IXA) is Not Limited To Medical. Elderly
                    or Childcare Circumstances

      Congress initially delegated the responsibility for determining what constitutes

"extraordinary and compelling reasons" to the United States Sentencing Commission.

28 U.S.C. § 994(t) ("The Commission ... shall describe what should be considered

"extraordinary and compelling reasons" for sentence reduction, including the criteria

to be applied and a list of specific examples." Congress provided one limitation to that

authority: "[r]ehabilitation of the defendant alone shall not be considered an

extraordinary and compelling reason." 28 U.S.C. § 994(t). Rehabilitation could,


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however, be considered with other reasons to justify a reduction.

      In 2007, the Sentencing Commission defined "extraordinary and compelling

reasons" as follows:

      (A)    Extraordinary and Compelling Reasons - Provided the defendant
             meets the requirements of subdivision (2), extraordinary and
             compelling reasons exist under any ofthe following circumstances:

             (i)     The defendant is suffering from a terminal illness.
             (ii)    The defendant is suffering from a permanent physical or
                     medical condition, or is experiencing deteriorating physical
                     or mental health because of the aging process, that
                     substantially diminishes the ability of the defendant to
                     provide self care within the environment of a correctional
                     facility and for which conventional treatment promises no
                     substantial improvement.
             (iii)   The death or incapacitation of the defendant's only family
                     member capable of caring for the defendant's minor child or
                     minor children.
             (iv)    As determined by the Director of the Bureau of Prisons,
                     there exists in the defendant's case an extraordinary and
                     compelling reason for purposes ofsubdivision ( 1)(A). USSG
                     §lBl.13, Application Note 1.

      As we will see, with the passage of The First Step Act, subparagraph (iv) is no

longer limited by what the BOP decides is extraordinary and compelling.

      Historically, the BOP rarely filed motions under §3582(c)(l)(A), even when the

inmates met the objective criteria for modification. See U.S. Dep 't of Justice Office of

the Inspector General, The Federal Bureau of Prisons Compassionate Release Program

(Apr. 2013). The Office of the Inspector General also found that the BOP failed to

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provide adequate guidance to staff on the criteria for compassionate release, failed to

set time lines for review of compassionate release requests, failed to create formal

procedures for informing prisoners about compassionate release, and failed to generate

a system for tracking compassionate release requests. Id. at i-iv.

      Congress heard those complaints and in late 2018 enacted The First Step Act.

             3.     The First Step Act

      The First Step Act, P.L. 115-391, 132 Stat. 5194, at (Dec. 21, 2018), among

other things, transformed the process for compassionate release. Id. at§ 603. Now,

instead of depending upon the BOP to determine an inmate's eligibility for

extraordinary and compelling reasons and the filing of a motion by the BOP, a court

can resentence ''upon motion of the defendant." A defendant can file an appropriate

motion if the he or she has exhausted all administrative remedies or "the lapse of 30

days from the receipt of such a request by the warden of the defendant's facility,

whichever is earlier." 18 U.S.C. § 3582(c)(l)(A). The purpose and effect of this

provision is to give federal courts the ability to hear and resentence a defendant even

in the absence ofa BOP motion. Congress labeled this change "Increasing the Use and

Transparency of Compassionate Release." 164 Cong. Rec. H10346, Hl0358 (2018).

Senator Cardin noted in the record that the bill "expands compassionate release under

the Second Chance Act and expedites compassionate release applications." 164 Cong.

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R. 199 at S7774 (Dec. 18, 2018). In the House, Representative Nadler noted that the

First Step Act includes "a number of very positive changes, such as . . . improving

application of compassionate release, and providing other measures to improve the

welfare of federal inmates." 164 Cong. R. Hl0346-04 (Dec. 20, 2018).

       Once an inmate has pursued administrative remedies through the BOP, upon his

or her motion, the sentencing court has jurisdiction and the authority to reduce a

sentence if it finds "extraordinary and compelling reasons" to warrant a reduction.

Judicial authority is no longer limited to cases that have the approval of the BOP.

             4.     Cummins Has Exhausted Administrative Remedies

      A motion by an inmate can be filed in the district court after ( 1) the inmate has

made the request to the Warden, and (2) either the request was denied or 30 days have

lapsed from the receipt of the request, whichever is sooner. First Step Act of 2018,

section 803{b), Pub. L. No. 115-391, 132 Stat. 5194, 5239 (2018).

      On July 28, 2020, Cummins has filed a request for compassionate release to John

P. Yates, FCI Forrest City warden. See Exhibit 1. Thirty (30) days have lapsed from

the receipt of the request but up to this date, no response yet. Because 30 days have

lapsed from the receipt of the request and the BOP failed to file a motion on Cummins'

behalf, exhaustion of administrative remedies is not an issue in this case. See 18 U.S. C.

§ 3582(c)(l)(A).



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      B.       Cummins' Current Conditions of Confinement and Health
               Conditions

      COVID-19 has infected hundreds of prisoners and staff in city jails, state prisons

and federal prisons.

      Note: Cummins, age 43, suffers from hypertension with hypertensive

retinopathy. See Exhibit 2.

      Facts:

      Hypertension. Hypertension is another name for high blood pressure. It can lead
      to severe health complications and increase the risk of heart disease, stroke, and
      sometimes death.

      Blood pressure is the force that a person's blood exerts against the walls of their
      blood vessels. This pressure depends on the resistance of the blood vessels and
      how hard the heart has to work.

      Hypertension is a primary risk factor for cardiovascular disease, including
      stroke, heart attack, heart failure, and aneurysm. Keeping blood pressure under
      control is vital for preserving health and reducing the risk of these dangerous
      conditions.
      COVID-19. COVID-19 is the disease caused by the new coronavirus that
      emerged in China in December 2019. COVID-19 symptoms include cough, fever
      or chills, shortness of breath or difficulty breathing, muscle or body aches, sore
      throat, new loss of taste or smell, diarrhea, headache, new fatigue, nausea or
      vomiting and congestion or runny nose. COVID-19 can be severe, and some
      cases have caused death.

      New York, California and Ohio were among the first to release incarcerated

people. Other states have followed, saying it is the only way to protect prisoners,

correctional workers, their families and the broader community.

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       Jails and prisons often lack basic hygiene products, have minimal health care

services and are overcrowded. Social distancing is nearly impossible except in solitary

confinement, but that poses its own dangers to mental and physical health.

       While there is absolutely no evidence to support that any person is more or less

likely to be infected [with COVID-19] based on existing medical conditions, Cummins'

argues that, first, prisoners experience exponentially higher rates of COVID-19 than

the general population. As of June 2020, "[t]he COVID-19 case rate for prisoners was

5. 5 times higher than the US population case rate. "2 Second, and more critically, older

individuals and individuals with chronic medical conditions are at greater risk of

hospitalization and death from COVID-19. For example, the CDC reports that persons

aged 40 to 49 are 15 times more likely to be hospitalized and 130 times more likely to

die from COVID-19 compared to persons aged 18 to 29 and younger. 3 In other words,

Cummins does not only contend that his health conditions increase his risk of getting

COVID-19; but also, he contends that those conditions greatly increase the risk that,

if contracted, his COVID-19 infection would be severe or even deadly.


       2

     Brendan Saloner, et al., COVID-19 Cases and Deaths in Federal and State Prisons, J. of the
Am. Med. Ass'n (July 8, 2020), https://jamanetwork.com/joumals/jama/fullarticle/2768249.
       3

         Hospitalizations & Death by Age, CTRS. FOR DISEASE CONTROL & PREVENTION,
https: //www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-discovery/hospitalization-
death-by-age. html (last updated May 14, 2021).

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      BOP Amid Covid-19

      One consequence of overcrowding is that prison officials have a difficult time

providing adequate health care.

      In 2011 the U.S. Supreme Court ruled that overcrowding undermined health care

in California's prisons, causing avoidable deaths. The justices upheld a lower court's

finding that this caused an ''unconscionable degree of suffering'' in violation of the

Eighth Amendment's prohibition on cruel and unusual punishment.

      Amid a worldwide pandemic, such conditions are treacherous. Some ofthe worst

COVID-19 outbreaks in U.S. prisons and jails are in places - like Louisiana and

Chicago -whose prison health systems have been ruled unconstitutionally inadequate.

Criminologists and advocates say many more people should be released from jails and

prison, even some convicted ofviolent crimes ifthey have underlying health conditions.

      The decision to release prisoners cannot be made lightly. But arguments against

it discount a reality recognized over two centuries ago: The health of prisoners and

communities are inextricably linked. Coronavirus confirms that prison walls do not, in

fact, separate the welfare of those on the inside from those on the outside.

      C.     "Extraordinary and Compellin& Reasons" Warrant a
             Reduction in Cummins' Sentence

      The principles of Compassionate Release allow for Cummins' early release. As


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discussed above, the principles for release are no longer limited to BOP guidelines;

federal courts have the power to determine what constitutes extraordinary and

compelling circumstances.

             1.     COVID-19 Is a Public Health Disaster That Threatens
                    Vulnerable Incarcerated Persons like Cummins.

      As of November 22, 2021, has 134,198 federal inmates in BOP-managed

institutions and 14,928 in community-based facilities. The BOP staff complement is

approximately 36,000. There are 105 federal inmates and 259 BOP staff who have

confirmed positive test results for COVID-19 nationwide. There have been 267 federal

inmate deaths and 7 BOP staff member deaths attributed to COVID-19 disease. See

https://www.bop.gov/coronavirus/ (last accessed November 22, 2021 ). Bottom line,

Federal facilities are not immune.

      Conditions of confinement create an ideal environment for the transmission of

highly contagious diseases like COVID-19. Because inmates live in close quarters,

there is an extraordinarily high risk of accelerated transmission of COVID-19 within

jails and prisons. Inmates share small cells, eat together and use the same bathrooms

and sinks..... They are not given tissues or sufficient hygiene supplies"); Joseph A.

Bick (2007). Infection Control in Jails and Prisons. Clinical Infectious Diseases

45(8):1047-1055, at https://academic.oup.com/cid/article/45/8/1047/344842 (noting


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that in jails "[t]he probability of transmission of potentially pathogenic organisms is

increased by crowding, delays in medical evaluation and treatment, rationed access to

soap, water, and clean laundry, [and] insufficient infection-control expertise"). BOP

employees are complaining that they lack masks and gloves, hand sanitizer, and even

soap.

        "The [BOP] management plan itself acknowledges [that] symptoms of

COVID-19 can begin to appear 2-14 days after exposure, so screening people based

on observable symptoms is just a game of catch up. . . . We don't know who's

infected." Manrique, 2020 WL 1307109, at *1.10

        Indeed, as the Second Circuit recently observed, present information about the

COVID-19 epidemic and the BOPs' prior failings in 2019 to adequately protect

detainees and allow them access to counsel and their families following a fire and

power outages suggest that the virus' impact will likely be "grave and enduring." Fed.

Deft. ofNew York, Inc. v. Fed Bureau ofPrisons, No. 19-1778, 2020 WL 1320886,

at *12 (2d Cir. Mar. 20, 2020).

              2.    Cwnmins' Vulnerability to COVID-19 Due to His High
                    Medical Risk Is an Extraordinary and Compelling Reason
                    That Warrants a Sentence Reduction.

        Cwnmins is particularly vulnerable to COVID-19 because of his Hypertension.

At the time of sentencing, the Court could not have anticipated that Cwnmins' diseases

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will place him in the "high risk" category nor the existence of the COVID-19. As the

COVID-19 pandemic continues, it potentially poses a particular issue for older people

and people with pre-existing medical conditions (such as serious heart condition, lung

disease, and autoimmune disease) appear to be more vulnerable to becoming severely

ill with the COVID-19 virus.

      Lung Problems, Including Asthma
      COVID-19 targets the lungs, so you're more likely to develop severe
      symptoms if you have preexisting lung problems, such as: Moderate to
      severe asthma, Chronic obstructive pulmonary disease (COPD), Lung
      cancer, Cystic fibrosis, Pulmonary fibrosis. In addition to being an asthma
      trigger, smoking or vaping can harm your lungs and inhibit your immune
      system, which increases the risk of serious complications with
      COVID-19.

      Heart Disease, Diabetes and Obesity
      People with diabetes, heart disease, high blood pressure or severe obesity
      are more likely to experience dangerous symptoms if infected with
      COVID-19. This may be ofparticular concern in the United States, which
      has seen increasing rates of obesity and diabetes over the years.
      Obesity and diabetes both reduce the efficiency of a person's immune
      system. Diabetes increases the risk of infections in general. This risk can
      be reduced by keeping blood sugar levels controlled and continuing your
      diabetes medications and insulin. Your risk of serious illness may also be
      higher if you have heart diseases such as cardiomyopathy, pulmonary
      hypertension, congenital heart disease, heart failure or coronary artery
      disease.

      How SARS-COV-2 Causes Disease and Death in COVID-19
      "You'd think underlying lung problems or immune system problems will
      be the greatest risk," says Dr. Levitt. "But it seems the biggest risk factors
      have been hypertension, diabetes and obesity." That has led many
      scientists to suspect that the profound inflammation seen in severe cases

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     of COVID-19 may be yet another problem linked to SARS-COV-2's
     fondness for ACE2. People with diabetes, hypertension and heart disease
     have more ACE2 on their cells as a response to the higher levels of
     inflammation that come with their condition; ACE2 has an
     anti-inflammatory effect. When SARS-COV-2 sticks to ACE2 and
     reduces its ability to do its job, the underlying inflammation gets worse.

     When inflammation gets completely out of control the body enters what
     is called a cytokine storm. Such storms drive the most severe outcomes
     for COVID-19, including multi-organ failure. There is thus an obvious
     role for anti-inflammatory drugs. But knowing when to administer them
     is hard. Go too late, and the storm will be unstoppable; go too early, and
     you may dampen down an immune response that is turning the tide. A
     recent article in the Lancet suggests that it would help if COVID-19
     patients were routinely screened for hyper-inflammation to help identify
     those who might benefit from anti-inflammatory drugs. But not everyone
     is convinced today's drugs have much to offer. "We tried [a range of
     anti-inflammatory treatment] and it actually didn't work," says Rajnish
     Jaiswal, who has been working on the front line of COVID-19 treatment
     at New York's Metropolitan Hospital.

https://www.economist.com/briefing/2020/06/06/how-sars-cov-2-causes-disease-an
d-death-in-covid-19.

     Delta Plus Variant of COVID-19

     The latest coronavirus variant has spread to about a dozen
     countries-including India, the U.S., and the U.K.-while scientists
     scramble to figure out if the strain is more deadly or transmissible.

     A new variant of the coronavirus has emerged, and scientists are working
     to figure out if it is more dangerous than its infamous cousin, the Delta
     variant, which has killed hundreds of thousands of people in India and is
     fast becoming the dominant variant around the world.

     The state of Maharashtra, India, which was hit hard by the devastating
     second wave of COVID-19, has now reimposed lockdowns due to rising


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      fears about this new variant, dubbed Delta Plus (which is not an official
      designation).

      Delta Plus differs just slightly from Delta-the predominant strain in India
      and the United Kingdom-which is more infectious and is thought to
      cause more hospitaliz.ations than previous strains. Existing vaccines are
      effective against Delta, but only when people are fully vaccinated.

See https://www .nationalgeographic.com/science/article/how-dangerous-is-the-new-
delta-plus- variant--heres-what-we-know.

      The dangerous Delta variant of the coronavirus is spreading so quickly in
      the United States that it's likely the mutant strain will become
      predominant in the nation within weeks, according to federal health
      officials and a new analysis.

      At a White House briefing on COVID-19 on Tuesday, Dr. Anthony Fauci
      of the National Institutes of Health said 20.6% of new cases in the U.S.
      are due to the Delta variant. And other scientists tracking the variant say
      it is on track to become the dominant virus variant in the U.S.

      "The Delta variant is currently the greatest threat in the U.S. to our
      attempt to eliminate COVID-19," Fauci said. He noted that the proportion
      of infections being caused by the variant is doubling every two weeks.

      The variant, first identified in India, is the most contagious yet and, among
      those not yet vaccinated, may trigger serious illness in more people than
      other variants do, he said.

See https://www.npr.org/sections/health-shots/202 l/06/22/l 008859705/delta-variant
-coronavirus-unvaccinated-u-s-covid-surge.

      Due to overcrowding, lack of resources, and little access to medical care,

incarcerated people have been at high risk for contracting COVID-19. Now, as the

highly transmissible Delta variant circulates widely, they may be even more susceptible

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to the virus.

        Josh Manson, a researcher at the UCLA Law COVID Behind Bars Data

Project, tells Ve:rywell that there have been few efforts to curb the Delta variant and

COVID-19 overall, making prisons deadly places for transmission. "When the

pandemic first hit in March 2020, prisons were not taking the situation seriously,"

Manson says. "We know that it's even more transmissible than it was the first time a

year and a half ago. We've seen thousands of people die in jails and prisons."

        So far, at least 2,718 people incarcerated in state and federal prisons, including

ICE custody, have died of COVID-19, making prisons a lethal setting during the

pandemic. 4

        According to Manson, the current death count is an underestimate. "There's

evidence emerging that the counts that have been recorded are actually undercounted,"

Manson explains. "So we don't even know the true totals of how many people died."

        For Prisoners. Vaccine Trial Participation May Do More Harm Than
        Good

        Early on, the Centers for Disease Control and Prevention (CDC) identified

people in prison as vulnerable to COVID-19 infection. At the height of the pandemic,

public health practitioners and civil rights organizations demanded the release ofpeople


        4

        UCLA Law COVID Behind Bars Data Project. National aggregate counts. Updated July 6,
2021.

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in prison due to overcrowding and the lack of access to medical care. 5

       According to the Prison Policy Initiative, the Federal Bureau of Prisons released

over 24,000 people over the course of the pandemic, with sentences to be served in

home confinement.6

       While some prisoners were released, a portion of the releases were deathbed

releases-or the release of incarcerated individuals who are near death.



       Delta Variant Is Creating a Web ofRegional COVID-19 Epidemics

       "Ifs basically just taking the handcuffs off while they're [incarcerated people]

on a ventilator and then saying, 'oh, you're free,' and then they die," Manson explains.

       Deathbed releases have made it difficult to determine the number of deaths that

occurred within prisons, Manson adds. In fact, the New York Times reported this week

that dozens of these cases around the country have been excluded from official counts.

       Collecting COVID-19 Data From Prisons Remains Challenging

       Data collection within prisons has been no easy feat, according to Manson.

       Homer Venters, MD, epidemiologist, clinical associate professor at New York
       s
     ACLU. ACLU demands the release from prisons and jails of communities vulnerable to
COVID-19. Updated March 18, 2020.
       6

     Prison Policy Initiative. The most significant criminal justice policy changes from the
COVID-19 pandemic. Updated May 18, 2021.

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University's College of Global Public Health, and fonner chief medical officer for the

New York City jail system, tells Verywell that to track and promote better health

outcomes, he believes data should be collected by the CDC and state departments of

health.

        "Some ofthe recommendations that I really advocated for in the Biden Riley task

force have explicitly called on the CDC and the state department's of health to become

much more involved in tracking health outcomes," Venters says.



        Study: COVID-19 Crowdfunding Campaigns Benefited Privileged
        Groups Most

        "All health data from prisons right now is really all over the place," Manson

adds.

        For example, prison systems report vaccination differently. Some prisons have

reported the number ofincarcerated people who have received only the first dose, while

other systems have reported the number of staff and incarcerated people who received

both doses.

          Vaccination Rates for StaffLags Behind

        Manson says that vaccine efforts within prisons aren't as robust as they should

be. While 446,079 incarcerated individuals (or 66%) have received at least one dose


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of the COVID-19 vaccine, carceral facility staff are vaccinated at much lower rates.4

      Across all U.S. prisons, only 110,946 correctional staff (45%) have been

vaccinated in comparison. 7 Venters says that low vaccination rates among carceral staff

are a national problem.

      "You'll see that the vaccination rate for incarcerated people is higher than for

staff," Manson says. "That is not because incarcerated people have had easier access,

but because staff refusal rates have been high." Because the Delta variant is highly

transmissible, staff can serve as transmitters of the virus if they are unvaccinated.

      "When you have such an overcrowded facility, which these facilities are right

now, it only takes one case," Manson says. "So if a member is not vaccinated, they can

very easily transmit the virus."

      Experts Say More Needs to Be Done to Curb Hesitancy

      According to Venters, the most basic strategies for curbing vaccme

hesitancy-like addressing people's concerns about safety-are not being employed.

      Incarcerated people have declined vaccinations because their questions about the

vaccines were left unanswered, Venters says.

      "Often behind bars, the way that the vaccine is offered is through these big mass


      7

      UCLA Law COVID Behind Bars Data Project. COVID-19 vaccines in carceral facilities.
Updated 2021.

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events, there's very little attention to finding the people who have questions, and really

sitting down and talking to them," Venters adds.

       Pfizer and Modema COVID-19 Vaccines Could Produce Years of
       Immunity

       These questions typically arise for people in prison who have complicated health

problems. "We have this paradoxical situation where some of the sickest people who

really just had a lot of normal, genuine questions about vaccinations remain

unvaccinated because of the way in which the vaccine has been offered," Venters

stresses.

       For correctional officers, some have rejected the vaccine because they were

worried about not having enough paid time off, Venters notes.

       "Correctional settings decided they were going to give people five or IO days of

COVID off, and that would include if they got sick from COVID, or if they had a side

effect of the vaccine," he adds. "But many correctional officers blew through that time

a year ago when they got sick."

       WHO Urges Fully Vaccinated People to Wear Masks Due to Delta
       Variant Spread

       Correctional officers expressed worry to Venters that if they experienced side

effects, they wouldn't have any sick time, underscoring the financial concerns for

carceral staff and their families. This suggests a need for policy change within the

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prison system, Venters says.

        Regardless ofa vaccine mandate, curbing the Delta variant will require engaging

with carceral staff.

        Hence, it is appropriate for Cummins to be released into an environment where

he and his loved ones can control and direct his medical care. It is important for all of

us to remember that convicted criminals are sent to prison as punishment-not for

punishment. People who are severely debilitated or are in the midst of dying are usually

no longer a threat to society, and there is not a compelling social advantage to keeping

them in prison.

Note:         According to the Centers for Disease Control and Prevention ("CDC"),
              COVID-19 is a new disease and there is limited information regarding
              risk factors for severe disease. Based on currently available information
              and clinical expertise, older adults and people of any age who have
              serious underlying medical conditions might be at higher risk for severe
              illness from COVID-19.

        a.    Based on what we know now, those at high-risk for severe illness from
              COVID-19 are:
              •    People 60 years and older
              •    People who live in a nursing home or long-term care facility

        b.    People of all ages with underlying medical conditions, particularly if not
              well controlled, including:
              •     Cancer
              •     Chronic kidney disease
              •     Chronic lung diseases, including COPD (chronic obstructive
                    pulmonary disease), asthma (moderate-to-severe), interstitial lung
                    disease, cystic fibrosis, and pulmonary hypertension

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             •     Dementia or other neurological conditions
             •     Diabetes (type I or type 2)
             •     Down syndrome
             •     Heart conditions (such as heart failure, coronary artery disease,
                   cardiomyopathies or hypertension)
             •     HIV infection
             •     Immunocompromised state (weakened immune system)
             •     Liver disease
             •     Overweight and obesity
             •     Pregnancy
             •     Sickle cell disease or thalassemia
             •     Smoking, current or former
             •     Solid organ or blood stem cell transplant
             •     Stroke or cerebrovascular disease, which affects blood flow to the
                   brain
             •     Substance use disorders

are the hallmark of those who are most endangered by the instant pandemic. These are

"extraordinary and compelling reasons" for his release. See Note l(A), § 1B1.13

(expressly recognizing that "other reasons" may exist for granting compassionate

release), see Note l(D), § 1B1.13 Note l(D) (recognizing that extraordinary and

compelling reasons exists "other than, or in combination with, the reasons described

in subdivisions (A) through (C).''). Here, Cummins high susceptibility to COVID-19

falls within the purview of this catchall. Moreover, courts have noted that while §

I B1.13 provides "helpful guidance" for detennining what constitutes an extraordinary

and compelling reason to warrant a sentence reduction, the inquiry does not end there.

Rather, district courts have the freedom to shape the contours of what constitutes an


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extraordinary and compelling reason to warrant compassionate release. Given the

highly infectious nature of COVID-19, the inability in a facility like FCI to practice any

ofthe hygienic and social distancing techniques that the Center for Disease Control has

put in place to prevent rapid transmission, and the fact that Cummins suffers from

ailments that have already been identified as "high risk," this Court should find that

Cummins' legitimate medical risk is a sufficiently extraordinary and compelling basis

for granting compassionate release.

      A recent letter by fourteen U.S. senators of both parties underscores this

position. Writing to U.S. Attorney General William Barr and BOP Director Michael

Carvajal, they stated: "[We] urge you to take necessary steps to protect [inmates in

Federal custody] particularly by using existing authorities under the First Step Act

(FSA) .... We have reviewed the Federal Bureau of Prisons (BOP) COVID-19 Action

Plan, which ... notably does not include any measures to protect the most vulnerable

staff and inmates.... [I]t is important ... that the most vulnerable inmates are released

or transferred to home confinement, ifpossible." And as the Second Circuit noted about

COVID-19 in a unanimous recent opinion, "The impact ofthis recent emergency on jail

and prison inmates, their counsel ... , the United States Attorneys, and the BOP,

including the individual Wardens and the personnel of each facility, is just beginning

to be felt. Its likely course we cannot foresee. Present information strongly suggests,

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however, that it may be grave and enduring." Fed. Defs. ofNew York, Inc., 2020 WL

1320886, at *12.

         Finally, in the last months, other jails and prisons have already started to

proactively release elderly and sick inmates who are at high risk of infection, as well

as releasing as many nonviolent offenders as possible in an effort to reduce the

incarcerated population and thus reduce the risk of spread. For example, on March 25,

2020, New York City announced that it would release 300 inmates from Rikers Island.

Approximately 1,700 inmates have been released from Los Angeles County Jails, and

1,000 inmates are to be released from New Jersey jails. Therefore, while COVID-19

remains an unprecedented emergency, many states (and politicians) have recognized

that they have a duty to flatten the curve inside incarcerated spaces. So, too, should this

Court.

               3.    Courts Have Granted Compassionate Release in Light of the
                     Instant Pandemic.

         Courts around the country have granted compassionate release where the

defendant suffers from a serious condition that increases the likelihood of severe

consequences from COVID-19. See, e.g., United States v. Coles, No. 00-cr-20051,

2020 WL 1976296, at *7 (C.D. Ill. Apr. 24, 2020) (hypertension, prediabetes, prostate

issues, bladder issues, and a dental infection); United States v. Bess, No. l 6-cr-156,


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2020 WL 1940809, at *8 (W.D.N.Y. Apr. 22, 2020)(congestiveheartfailure, coronary

artery disease, diabetes, and hypertension); United States v. Zukerman, No. 16 Cr. 194

(AT), 2020 WL 1659880, at *5 (S.D.N.Y. Apr. 3, 2020) (diabetes, hypertension, and

obesity); United States v. Williams, No. 3:04cr95/MCR, 2020 WL 1751545, at *3

(N.D. Fla. Apr. 1, 2020) (coronary disease, peripheral vascular disease, congestive

heart failure, end-stage renal disease, hyperlipidemia, and prediabetes); United States

v. Watkins, Case No. 15-20333 (E.D. Mich. Jul. 16, 2020), granting compassionate

release to prisoner whose only underlying condition was previously-treated latent TB;

and Singh v. Barr, No. 20-CV-02346-VKD, 2020 WL 1929366, at *10 (N.D. Cal. Apr.

20, 2020) (granting release from immigration custody for petitioner with latent TB,

hypertension, and obesity); and United States v. Gerard Scparta, No. 18 Cr. 578

(AJN), ECF Dkt. 69 (S.D.N.Y. Apr. 19, 2020). In Scparta, Judge Nathan granted a

compassionate release motion of a 55-year old defendant who suffers from high blood

pressure, high cholesterol, sleep apnea, and hypertension. The court found that it could

waive § 3 582(c)( 1)(A)' s 30-day waiting period and hear the motion, and describes USP

Butner's "Kafkaesque" "14-day quarantine" process-which is neither a true

"quarantine" nor actually limited to 14 days-before releasing inmates to home

confinement.

               4.   Career Offender Enhancement

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      In this case, Cummins' career offender enhancement is no longer valid due to a

change of law- FSA of 2018. Due to this retroactive change of the law, his sentence

now presents an error sufficiently grave to be deemed as a fundamental defect.

      Cummins was over 18 years of age when he committed this offense, and it was

a "controlled substance offense" within the meaning of U.S.S.G. § 4Bl.l(a). His

sentence was therefore subject to being enhanced under the "Career Offender"

Guidelines provision, § 4B 1.1, ifhe had "at least two prior felony convictions of either

a controlled substance offense or a crime of violence. "The PSR construed U.S.S.G.

§ 4Bl.2, which defines a "controlled substance offense" and a "crime of violence."

      Cummins was sentenced as a career offender because before he was convicted

in federal court of the present offense, Cummins has at least two prior felony

convictions, enumerated as follows:

      (1)    03/12/2002: Bank Robbery, Case NO. 4:02CR00171-l; and

      (2)    09/07/2011: Possession of Cocaine with Intent to Deliver, Case
             No. CR 2011-3692. Cummins was sentenced to 5 years and served
             only 10 months.

      Before the FSA, a I 0-year mandatory minimum could be enhanced to 20 years

if the defendant had one prior conviction for a felony drug offense. That definition

encompassed felony possession of drugs. Two or more such prior offenses would result

in a mandatory life sentence. After the FSA, enhancement under Section 851 requires

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the defendant have a prior conviction for a serious drug felony or serious violent felony

to enhance the l 0-year mandatory minimum to a term of 15 years. Two or more such

prior offenses result in a mandatory minimum of 25 years.

       The terms "serious drug felony" and "serious violent felony" are defined in the

statute. The serious drug felony definition comes from 18 U.S.C. Section 924(e)(2)(A)

in the Armed Career Criminal Act. The definition requires that the prior offense have

been punishable by at least 10 years of imprisonment and excludes mere possession

felonies.



       "Serious Drug Felony"An offense prohibited by 18 U.S.C. § 924(e)(2)(A) for

which the defendant served a term of imprisonment of more than 12 months and was

released from any term of imprisonment within 15 years of the instant offense. Section

924(e)(2)(A) defines "serious drug felony" as an offense under the Controlled

Substances Act (21 U.S. C. § 801 et seq.), the Controlled Substances Import and Export

Act (21 U.S.C. § 951 et seq.), Chap-ter 705 of Title 46 (Maritime Law Enforcement)

or under state law, involving manufacturing, distribut-ing, or possessing with intent to

distribute, a controlled substance (as defined in section 102 of the Controlled

Substances Act (21 U.S. C. § 802)), for which a maximum term of imprisonment is ten

years or more.

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      Hence, if sentenced today, Cummins 2011 Possession of Cocaine with Intent to

Deliver would no longer qualify as a predicate to enhance his sentence under the career

offender guidelines as he only served 10 months as opposed to the "more than 12

months" required by the new law.

             5.     Cummins' Remarkable Rehabilitation

      Note: At sentencing, Cummins' received a three-level reduction for acceptance

of responsibility. Also, he received a 28-months off of his sentence pursuant to Rule

35. Thus, he was sentenced to 180 months, which was reduced to 160 months pursuant

to FSA 2018.

      It is essential to also note that since Cummins' incarceration began, he has taken

numerous steps to attempt to improve himself in "post-conviction rehabilitation." See

Exhibit 3. Throughout the time he has spent in prison, Cummins has worked long and

hard and diligently at his rehabilitation. Cummins' commitment to rehabilitation is

found in his participation in educational opportunities while in prison. Cummins has

taken several classes. Cummins has no incidents in over 12 months now and has been

maintaining a clear conduct. Hence, there can be no genuine safety concerns on his

release. His extraordinary rehabilitation shows that he is ready for re-entry.

      Cummins urges the Court to consider the following case citations:

      •      United States v. Carpenter, 2:14-CR-00309-TLN, 2020 WL

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           5851129 (E.D. Cal. Sept. 30, 2020) in which the court initially
           denied the defendant's request for compassionate release but later
           granted on a motion for reconsideration after observing that cases
           within defendant's facility had increased and that the defendant
           was herself diagnosed with COVID-19.

      •    United States v. Belanger, 1: l 5-CR-00072-JDL, 2020 WL
           5351028 (D. Me. Sept. 4, 2020), which granted release for a
           defendant at risk of severe COVID after he had served
           approximately 30% of a 132-month sentence.

      •    United States v. Grant, 16-30021-001, 2020 WL 4036382 (C.D.
           Ill. July 17, 2020) which specifically recognized that osteomyelitis
           may pose a serious health risk despite not being specifically named
           by the CDC as a COVID-19 risk factor.

      •    United States v. Pabon, 458 F. Supp. 3d 296,299 (E.D. Pa. 2020)
           which granted defendant compassionate release after serving 14
           months of a 46-month sentence because "continued incarceration
           might interfere with his ability to get needed medical care" for
           hypertension, diabetes, and other medical conditions.

And

      •    Section 1B 1.13 has not been updated to reflect pursuant to the
           2018 First Step Act, hence, defendants now have the ability to
           bring such motions directly. This anomaly has given rise to a
           debate concerning whether and to what extent § 1B 1.13 applies to
           motions filed by defendants, with several circuits recently holding
           that § 1B 1.13 applies only to motions filed by the Bureau of
           Prisons, and not to motions filed by defendants on their own
           behalf. See United States v. McCoy, Nos. 20-6821, 20-6869,
           20-6875, 20-6877, 2020 WL 7050097, at *6-7 (4th Cir. Dec. 2,
           2020); United States v. Jones, No. 20-3701, 2020 WL 6817488,
           at *8-9 (6th Cir. Nov. 20, 2020); United States v. Gunn, No.
           20-1959, 2020 WL 6813995, at *2 (7th Cir. Nov. 20, 2020); United
           States v. Brooker, 976 F.3d 228,234 (2d Cir. 2020).

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       D.    Recidivism Risk Level

       Cummins has served almost 50% of his sentence. Factoring in Cummins'

rehabilitation and clear conduct in prison, makes him substantially less likely to

recidivate. Given the length ofhis imprisonment, his personal rehabilitation, and deeply

felt remorse, the Court must conclude that deterrence and public protection are no

longer strong§ 3553(a) factors weighing in favor of continued detention.

       Under 18 U.S.C. § 3582(c)(2), to modify Cummins' sentence, taking into

account the advisory nature of the guidelines after Booker and the considerations set

forth in 18 U.S.C. § 3553(a). The court should find that a sentence of time served is

sufficient, but not greater than necessary, and accounts for the sentencing factors the

court must consider pursuant to 18 U.S. C. § 3553(a), specifically deterrence, protection

of the public, and respect for the law.

       Here, although those factors fully support the substantial sentence originally

imposed, in the current context of Cummins' medical condition and retroactive change

of law- FSA 2018, Cummins' family believes compassionate release is appropriate at

this time.

       If granted compassionate release, Cummins will reside with his wife, Christina

Cummins (and 6-yo child), who resides at 5301 BB Circle, Little Rock, AR 72206 -

where he will be able to isolate himself and take the same precautionary measures that

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all Americans are taking: frequent hand washing, sanitizing his living space, and

seeking medical care as necessary. None of these precautions are available in prison.

Further information about these release plans upon request.

      Finally, Cummins have met all the requirements for compassionate release based

on the combination of factors: health conditions, COVID-19 risk and the world's take

on the global pandemic right now, retroactive change of law- FSA 2018 as well as

length of time already served, good time credits he has served, post-sentencing

rehabilitation, his BOP record does not show that he is violent or a threat to public

safety, and the changing sentencing landscape justify granting compassionate release

to Cummins.

                                IV. CONCLUSION

      For the above and foregoing reasons, Cummins prays this Court would consider

his Motion for Compassionate Release pursuantto 18 U.S. C. § 3 582(c)(1 )(A) and First

Step Act of 2018, based upon the "extraordinary and compelling reasons" and release

him to home confinement or hold a hearing as soon as possible.

                                              Respectfully submitted,




Dated: November   1J2 2021
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                                             REG. NO. 22777-009
                                             FCI FORREST CITY MEDIUM
                                             FEDERAL CORR. INSTITUTION
                                             P.O. BOX 3000
                                             FORREST CITY, AR 72336
                                             Appearing Pro Se




                        CERTIFICATE OF SERVICE

      I hereby certify that on November 3tJ, 2021, a true and correct copy of the
above and foregoing Motion for Compassionate Release pursuant to 18 U.S.C. §
3582(c)(l)(A) and First Step Act of 2018 was sent via U. S. Mail, postage prepaid,
Benecia Betton Moore, at U.S. Attorney's Office, Eastern District of Arkansas, P.O.
Box 1229, Little Rock, AR 72203-1229.




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                        EXHIBIT 1:
                  "Administrative Remedies"
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BP-Sl 46, 055    IHMA!l'E REQUEST TO STAFF   CDFRM
SEP 98
U.S. DEPARTMENT OF JUSTICE                                                         OF PRISONS



                                                     DATE:


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                                                     UNIT:


SUBJECT: (Briefly state your question or conce.t,1 and the solution you are requesting. Continue
on back, if necessary. Your failure to be specific may result in no action being taken. If
           yo) will be ~nterviewed      order to su ce;sfully¼espond               request.)




                                  (Do not write below this line)
                                                                              -7        over
 DISPOSITION:




           Signature Staff Member


Record Copy - File; Copy - Inmate                This form replaces BP-148.070 dated Oct 86
(This form may be replicated via WP)             and BP-Sl48.070 APR 94
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                          EXIIlBIT 2:
                     "Medical Documents"
                    Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 40 of 68
                                                         Bureau of Prisons
                                                          Health Services
                                                         Clinical Encounter
_Inmate Name: CUMMINS, JABARI ZAKI                                                                     Reg #:    22777-009
Date of Birth: 03/23/1978                                     Sex:      M Race: BLACK                  Facility: POM
Encounter Date: 09/0312020 14:30                              Provider: Markey, J. MD                  Unit:     F01


Chronic Care - Chronic Care Clinic encounter perfonned at Health Services.
SUBJECTIVE:
    COMPLAINT 1                     Provider:   Markey, J. MD
        Chief Complaint: Chronic Care Clinic
        Subjective:   Mr. Cummins is a 42 year old gentleman seen for chronic care follow up. He takes HCTZ 25
                      mg and amlodipine 5 mg daily, and todays blood pressure is 118/78. He has been examined
                      by Dr. Maxon, OD and found to have mild hypertensive retinopathy. Last labs taken 11/2019
                      showed normal renal function without proteinuria. Goal SBP <130. Continue HCTZ 25 mg
                      daily, amlodipine 5 mg daily.
        Pain:         Not Applicable
Seen for cllnic(s): Hypertension

OBJECTIVE:
Temperature:
    .0iWl             Iima              E•bcaob•it Celsius Location                       Provider
    09/03/2020        14:28 POX                 98.0          36.7 Oral                  Sikes, Victoria CMA
Pulse:
    Dat.           Iiml.               Rate Par Minute          Location                  Rhythm      Provider
     09/03/2020 14:28 POX                              97       Via Machine               Regular     Sikes, Victoria CMA

Respirations:
    121m                   IIDll.               Rata Par Minute Providar
     09/03/2020            14:28POX                             19 Sikes, Victoria CMA

Blood Preaaure:
                   Iiloa                         Location          PQlltion             Cuft liM      Pmvidtc
     09/03/2020 14:28 POX            125/80      Left Ann          Sitting              Adult-large   Sikes, Victoria CMA

sa02:
    Datt              Iilm.              YalulCfi) Ab:                        Provider
     09/03/2020       14:28 POX                  99 Room Air                  Sikes, Victoria CMA
·weight:
    .DiWl            .Iima                    .Lba      Kg Waist Circum, Prpyidar
     09/03/2020       14:26 POX            193.0       87.5                      Sikes, Victoria CMA

 ROS Comments
    CONSTITUTIONAL: No weight loss, fever, chills, weakness or fatigue.
    HEENT: Eyes: No Visual loss, blurred vision, double Vision or yellow sclerae.
    ENT: No hearing loss, sneezing, congestion, runny nose or sore throat.
    SKIN: No rash or itching.
    CARDIOVASCULAR: No chest pain, chest pressure or chest discomfort. No palpitations or edema.
    RESPIRATORY: No shortness of breath, cough or sputum.
    GASTROINTESTINAL: No anorexia, nausea, vomiting or diarrhea. No abdominal pain or blood.
  · GENITOURINARY: No Burning on urination.
    NEUROLOGICAL: No headache, dizziness, syncope, paralysis, ataxia, numbness or tingling in the extremities. No
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 Inmate Name: CUMMINS, JABARI ZAKI                                                          Reg #: 227TT-009
·Date of Birth: 03/23/1978                             Sex:      M   Race: BLACK            Facility: POM
 Encounter Date: 09/03/2020 14:30                      Provider: Markey, J. MD              Unit      F01

    change In bowel or bladder control.
    MUSCULOSKELETAL: No muscle or back pain, joint pain or stiffness.
    HEMATOLOGIC: No anemia, bleeding or bruising.
    ENDOCRINOLOGIC: No reports of sweating, cold or heat intolerance. No polyuria or polydipsia.
    ALLERGIES: No history of hives, eczema or rhinitis.
 Exam Comments
    PATIENT AAOX3, NO ACUTE DISTRESS.
    HEAD: NORMOCEPHALIC, ATRAUMATIC.
    EYES: PERRLA, EOMI.
    ENT: INTACTED TYMPANIC MEMBRANE BILATERALLY, NO BULGING OR EFFUSION.
    PATENT NARES, NO CONGESTION OR DISCHARGED NOTED.
    NECK: MIDLINE TRACHEA, FULL ROM, NO JVD, NO LYMPHADENOPATHY, NO THYROMEGALY, NO CAROTID
    MURMURS OR BRUITS.
    SKIN: NO RASH.
    CARDIO: RRR, S1S2, NO MURMURS, RUBS, OR GALLOPS.
    PULM: CTAB, NO CRACKLES, RONCHI OR WHEEZING.
    ABD: SOFT, NT, ND, BS+, NO RIGIDITY, NO GUARDING.
    UPPER EXT: FULL ROM, PALPABLE PULSES.
    LOWER EXT:FULL ROM, PALPABLE PULSES. NO PITTING EDEMA BILAT.
    NEURO: CN 2-12 GROSSLY INTACT, NO MOTOR DEFICIT, NO GAIT ABNORMALITIES.
ASSESSMENT:
Essential (primary) hypertension, 110 - Current
Retinopathy, NOS, H3500 - Current

PLAN:
Renew Medication Orders:
.Bd.              Medication                                                                             OrderData
107860-CP1        amLODIPine 5 MG TAB                                                                    09/03/2020 14:30
                        Pmsc;ribar Order:      Take one tablet (5 MG) by mouth each day x 180 day(s)
                        Indication:   Essential (primary} hypertension
102954-CP1        hydroCHLOROthiazide 25 MG Tab                                                          09/03/2020 14:30
                        Prascribar Order:       Take one tablet (25 MG} by mouth each day x 180 day(s)
                        Indication:   Essential (primary} hypertension

Discontinued Non-Medication Orders:
.0!mr                            Emqueoc;y           Duration            Detail•                         Ordered Qy
Blood Pressure                   Weekly               14days             starting 912                    Markey, J. MD
                       Discontinue Reason: No longer indicated
                       Order Date:         OBiJ5/2020
                       End Date:               09/09/2020
Schedule:
       Actlyjty                                             Data Schadulad Scheduled Provider
       Clinical Encounter                                   12/03/2020 00:00 Physician 01
           HTN with mild retinopathy stable on HCTZ 25 and amlodipine 5 mg
Disposition:
       Follow-up at Chronic Care Clinic as Needed

Patient Education Topics:
Generated 09/03/2020 19:02 by Markey, J. MD              Blnau of Prisons - POM                                   Page 2 of 3
                    Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 42 of 68

Inmate Name: CUMMINS, JABARI ZAKI                                                  Reg#:      22m-009
Date of Birth: 03/23/1978                              Sex:      M Race: BLACK     Facility: POM
Encounter Date: 09/03/2020 14:30                       Provider: Markey, J. MD     Unit      F01

    Date Initiated Fonnat                           Handout[[gpjc                  Pa>Yider              Outcome
    09/03/2020       Counseling                     Plan of Care                   Markey, J.            Verbalizes
                                                                                                         Understanding

Copay Required: No                            Cosign Requlntd: No
TalaphoneNarbal Order: No
Completed by Markey, J. MD on 09/03/2020 19:02




Generated 09103/202019:02 by Martcey, J. MD              Bureau of Priaon8 - POM                        Page3of 3
                 Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 43 of 68

                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:        CUMMINS, JABARI ZAKI                                                                 Reg#:       22777-009
Date of Birth:      03/23/1978                                Sex:      M     Race: BLACK                Facility:   POM
Note Date:          09/03/2020 14:29                          Provider:  Sikes, Victoria CMA             Unit:       F01


Admin Note - General Administrative Note encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE              1              Provider. Sikes, Victoria CMA
             Vrtals for F/lJ.

Temperature:
    DIii.             Iiml.           E•bmnboit Celsius Location                          Pfoyider
     09/03/2020       14:28 POX                98.0           36.7 Oral                   Sikes, Victoria CMA

Pulse:
     Dilbl         Iiml.              Rate Per Minute            Location                 Rhythm      Provider
     09/03/2020 14:28 POX                              97        Via Machine              Regular     Sikes, Victoria CMA
Respirations:
   .Dm.                                       Rate Pac lllnuta Provldlc
     09/03/2020            14:28POX                              19 Sikes, Victoria CMA
Blood PreHure:
     Dam           Ihm            llllu.l.      Lacatipn             Positlpn           CuftSiza      Provider
     09/03/2020 14:28 POX          125/80       Left Arm             Sitting            Adult-large   Sikes, Victoria CMA
Sa02:
    .a.               I.imll           Valua(,a) Air                            Provider
     09/03/2020       14:28 POX              99 RoomAir                         Sikes, Victoria CMA
Weight:
    Data              Iilllll                .Lba       Kea Waist Ci:cum Provider
     09/03/2020       14:28 POX            193.0       87.5                        Sikes, Victoria CMA

Copay Required: No                            Cosign Required: No
TelephonelVerlNII Order: No
Completed by Sikes, Victoria CMA on 09/03/2020 14:30




Genended 09/03/2020 14:30 by Sikes, Victoria CMA              Bureau of Prisons - POM                                      Page 1 of 1
                    Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 44 of 68
                                                         Bureau of Prisons
                                                          Health Services
                                                         Clinical Encounter
Inmate Name:        CUMMINS, JABARI ZAKI                                                            Reg#: 227n-009
Date of Birth:     03/23/1978                              Sex:        M     Race: BLACK            Facility: POM
Encounter Date: 08/25/2020 17:45                           Provider: Markey, J. MD                  Unit      F01

Chronic Care - Chronic Care Clinic encounter performed at Housing Unit
SUBJECTIVE:
     COMPLAINT 1                  Provider: Markey, J. MD
        Chief Complaint: Chronic care Clinic
        Subjective:   Mr. Cummins is a 42 year old gentleman seen for chronic care follow up. He was restarted
                      recently on HCTZ 25 mg daily for which he reports daily compliance, after blood pressure
                      evaluation was hypertensive. He has since been examined by Dr. Maxon, OD and found to
                      have mild hypertensive retinopathy. Last labs taken 11/2019 showed normal renal function
                      without proteinuria. Goal SBP <130. Continue HCTZ 25 mg daily, add amlodipine 5 mg daily.
                      Follow up in the near future.
        Pain:         Not Applicable
Seen for clinic(s): Hypertension

OBJECTIVE:
Temperature:
     Dlla              Iiml.           Eabmob11t Celsius Location                      Proyidar
     08/25/2020        17:45 POX               98.0        36.7                        Markey, J. MD
     08/10/2020        15:00 POX               98.0        36.7                        Markey, J. MD
Pulse:
     J2Alll                            Rate Pac Minute       Location                  Rhythm      Provider
     08/2512020 17:45 POX                             70                                           Markey, J. MD
     08/10/2020 15:00 POX                             89                                           Markey, J. MD
Respirations:
     Dam                    nm                 Rate Par Minute ProYklac
     08/25/2020             17:45POX                        18 Markey, J. MD

     08/10/2020             15:00POX                         18 Markey, J. MD
Blood Prasaura:
     .Dattt.        .Dmt.          llallUl      Location          P91ition           Cuff IIM      Provider
     08/25/2020 17:45 POX          137/91                                                          Markey, J. MO
     08/25/2020 11 :44 POX         137/86       Left Arm          Sitting            Adult-large   Boone, Glenda RN
           hr75
     08/10/2020 15:00 POX          140/93                                                          Markey, J. MD
Sa02:
     DR                Iiml.            Yalua(!a)    ~                       Provider
     08/25/2020        17:45POX                 98                           Markey, J. MD
     08/10/2020        15:00 POX                98                           Markey, J. MD

  ROS comments
     CONSTITUTIONAL: No weight loss, fever, chills, weakness or fatigue.
     HEENT: Eyes: No visual loss, blurred vision, double vision or yellow sclerae.
-Genanltad 08/28/2020 07:48 t,v Maruy, J. MD                Eknau of Prisons - POU                                    Page 1 of 3
          '          Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 45 of 68

Inmate Name: CUMMINS, JABARI ZAKI                                                          Reg #: 227TT-009
Date of Birth: 03123/1978                              Sex:      M Race: BlACK             Facility: POM
Encounter Date: 08125/2020 17:45                       Provider: Markey, J. MD             Unit      F01

    ENT: No hearing loss, sneezing, congestion, runny nose or sore throat.
    SKIN: No rash or itching.
    CARDIOVASCULAR: No chest pain, chest pressure or chest discomfort. No palpitations or edema.
    RESPIRATORY: No shortness of breath, cough or sputum.
    GASTROINTESTINAL: No anorexia, nausea, vomiting or diarrhea. No abdominal pain or blood.
    GENITOURINARY: No Burning on urination.
    NEUROLOGICAL: No headache, dizziness, syncope, paralysis, ataxia, numbness or tingling in the extremities. No
    change in bowel or bladder control.
    MUSCULOSKELETAL: No muscle or back pain, joint pain or stiffness.
    HEMATOLOGIC: No anemia, bleeding or bruising.
    ENDOCRINOLOGIC: No reports of sweating, cold or heat intolerance. No polyuria or polydipsia.
    ALLERGIES: No history of hives, eczema or rhinitis.
. E11m Comments
    PATIENT AAOX3, NO ACUTE DISTRESS.
    HEAD: NORMOCEPHALIC, ATRAUMATIC.
    EYES: PERRLA, EOMI.
    ENT: INTACTED TYMPANIC MEMBRANE BllATERALLY, NO BULGING OR EFFUSION.
    PATENT NARES, NO CONGESTION OR DISCHARGED NOTED.
    NECK: MIDLINE TRACHEA, FULL ROM, NO JVD, NO LYMPHADENOPATHY, NO THYROMEGALY, NO CAROTID
    MURMURS OR BRUITS.
    SKIN: NO RASH.
    CARDIO: RRR, S1S2, NO MURMURS, RUBS, OR GALLOPS.
    PULM: CTAB, NO CRACKLES, RONCHI OR WHEEZING.
    ABO: SOFT, NT, ND, BS+, NO RIGIDITY, NO GUARDING.
    UPPER EXT: FULL ROM, PALPABLE PULSES.
    LOWER EXT:FULL ROM, PALPABLE PULSES. NO PITTING EDEMA BllAT.
    NEURO: CN 2-12 GROSSLY INTACT, NO MOTOR DEFICIT, NO GAIT ABNORMALITIES.
ASSESSMENT:
Essential (primary) hypertension, I10-Current
_Retinopathy, NOS, H3500 - Current

PLAN:
New Medication Ordara:
.Bxt                Mldicatlon                                                                      OrdarData
                    amLODIPine Tablet                                                               08125/2020 17:45
                        Prascrlber Order;      5 mg Orally - daily x 90 day(s)
                         Indication: Essential (primary) hypertension

New Non-Medication Orders:
.0.ahtt                          Fraquancy           Duration           Detail•                      Ordarad By
Blood Pressure                  Weekly               14days             starting 9/2                 Markey, J. MD
                         Order Date:           08/25/2020
Schedule:
       Activity                                             Data Schadulad Schaduled Provider
       Clinical Encounter                                    09/16/2020 00:00 Physician 01
              HTN with mild rctinopathy on halz 25 la:,t bp 137/91 on HClZ 25 mg. mnlodipine 5 mg WH added
Disposition:
       Follow-up at Chronic Care Clinic as Needed


Generated 0812612020 07:46 by Martcey, J. MD            Bureau of Prleona - POM                               Page2of 3
                    Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 46 of 68

Inmate Name:       CUMMINS, JABARI ZAKI                                            Reg #: 227n-009
Date of Birth: 03/23/1978                              Sex:      M   Race: BLACK   Facility: POM
Encounter Date: 08125/2020 17:45                       Provider: Markey, J. MD     Unit      F01

Patient Education Topics:
    Date loifiated Format                           Handoyt(Tqpjc                  proyjder           Outcome
    08/26/2020        Counseling                    Plan ofCere                    Markey, J.         Verbalizes
                                                                                                      Understanding

Copay Raquintd:No                             Cosign Raquintd: No
Telephone/Verbal Order: No
Completed by Markey, J. MD on 08/26/2020 07:46




Generated 08/26/2020 07:46 by Mattey, J. MD              Bureau of Prisons • POM                     Page3of 3
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                                             Bureau of Prisons
                                              Health Services
                                  Clinical Encounter - Administrative Note
Inmate Name:       CUMMINS, JABARI ZAKI                                                   Reg #:      22TT7-009
Date of Birth:     03/2311978                         Sex:      M   Race:BLACK            Facility:   POM
Note Date:         08/20/202017:05                    Provider. Markey, J. MD             Unit        F01


COSign Note - Clinical Encounter Cosign encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE          1           Provider. Markey, J. MD
             plan for HTN follow up in near future


ASSESSMENTS:
Retinopathy, NOS, H3500 - Current
Schedule:
     Activity                                             Data Schadulad Schadulad Provider
     Clinical Encounter                                   08/21/2020 00:00 Physician 01
         HTN with mild retinopathy on hctz 25 last bp 140/93

Copay Required: No                          Cosign Required: No
Telephone/Verbal Order:        No
Completed by Markey,      J. MD on 08/20/2020 17:07




Genendad 08120/2020 17:07 by Maney, J. MD             Bureau of Prisons • POL                               Page 1 of 1
                    Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 48 of 68
                                                    Bureau of Prisons
                                                     Health Services
                                                   Clinical Encounter
·Inmate Name: CUMMINS, JABARI ZAKI                                                           Reg #: 22777-009
 Date of Birth: 03/23/1978                             Sex:      M   Race: BLACK             Facility: POM
 Encounter Date: 08/20/2020 11 :56                     Provider: Maxon, T. OD                Unit:     F01


Optometry - Optometry Exam encounter perfonned at Health Services.
SUBJECTIVE:
    COMPLAINT 1                   Provider. Maxon, T. OD
        Chief Complaint:    Eyes/Vision Problems
        Subjective:     42 yo BM(+) HTN w/ h/o keretoconus, OS
        Pain:           Not Applicable
. Vision Screen on 08/20/2020 11 :56
   Blindness:
   Distance Vision:       Right Eye: 20/20                    Left Eye: 20/80                Both Eyes: 20/20
   Near Vision:           Right Eye:                          Left Eye:                      Both Eyes:
   With Corrective Lenses
   Distance Vision:       Right Eye: 20/20                    Left Eye: 20/50                Both Eyes: 20/20
   Near Vision:           Right Eye:                          Left Eye:                      Both Eyes:
   Present Glasses - Distance                                    Refraction - Distance
         Sphere        Cylinder      Axis        Add                 Sphere       Cylinder   Axis         Add
   R:                                                             R: 0.00         -0.75      36
   L:                                                             L: 0.00         -4.00       155
   Color Test:
   Tonometry: L: 15                    R: 15
   Comments:

OBJECTIVE:
Exam:
     Eyes
          General
                Yes: PERRLA, Extraocular Movements Intact
          Slit Lamp
               Yes: Nonnal Exam
          Periorbltal/Orbltal/Uda
                Yes:NonnalAppearing
          Eyebrows
                Yes:NonnalAppearing
          Conjunctiva and Sciera
                Yes: Within Normal Limits
          Comea and Lens
                Yes:NormalAppeanng
          FunduaExam
                Yes: Hemorrhage-lntraretinal R

Generaled 08120/2020 11:59 by Maxon, T. OD              Bureau of Prisons - POM                                 Page 1 of 2
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Inmate Name: CUMMINS, JABARI ZAKI                                                      Reg #: 22TT7--009
Date of Birth: 03/23/1978                              Sex:        M     Race: BLACK   Facility: POM
Encounter Date: 08/20/2020 11 :56                      Provider: Maxon, T. OD          Unit:     F01

 Exam Commants
    Fundus photo/OCT done
"ASSESSMENT:

Essential (primary) hypertension, 110 - Current

PLAN:

Disposition:
     Follow-up at Sick can as Needed
     Retum Immediately if Condition Worsens

Other:
     1. Keratoconus, OS
     - Continue w/ current specs

     2. HTN w/ mild retinopathy
     - Single intraretinal heme near macula of the right eye
    -Monitor BP
    - RTC 3-4 months for flu

Patient Educ:atlon Topics:
     Date Initiated Format                          Handoyt/Topic                      Pmvider              Outcome
    08/20/2020      Counseling                      Access to Care                     Maxon, T.            Verbalizes
                                                                                                            Understanding

_Copay Requintd: No                           Cosign Requlntd: Yes
 Telephone/Verbal Order: No
Completed by Maxon, T. OD on 08/20/2020 11:59
Requested to be oosigned by Markey, J. MD.
Cosign documentation will be displayed on the following page.




Generalad 0Sl20r.z020 11:59 by Maxon, T. OD              Bureau of Prisons - POM                           Page2of 2
                 Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 50 of 68
                                          Bureau of Prisons
                                           Health Services
                                           Cosign/Review
Inmate Name:       CUMMINS, JABARI ZAKI                                   Reg#:       22777-009
Date of Birth:     03/23/1978                Sex:          M              Race:       BLACK
Encounter Date: 08/20/2020 11 :56            Provider:     Maxon, T. OD   Facility:   POM

Cosigned with New Encounter Note by Markey, J. MD on 08/20/2020 17:05.




                                             BurNU of Prl&or1a - POL
                   Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 51 of 68

                                                            Bureau of Prisons
                                                             Health Services
                                                        Clinical Encounter
-Inmate Name: CUMMINS, JABARI ZAKI                                                                   Reg #:    22777-009
 Date of Birth: 03/23/1978                                   Sex:      M   Race: BLACK               Facility: PCM
 Encounter Date: 08/10/2020 15:00                            Provider: Markey, J. MD                 Unit:     F01


Chronic Care - Chronic Care Clinic encounter performed at Housing Unit.
SUBJECTIVE:
     COMPLAINT 1                    Provider:   Markey, J. MD
        Chief Complaint: Chronic Care Clinic
        Subjective:   Mr. Cummins is a 42 year old gentleman who requests evaluation. BP 140/93. He was seen
                      previously 2/2020 and was normotensive without antihypertensive therapy. He reports that he
                      has gained some weight and reports frequent headaches and blurred vision and is anxious
                      without antihypertensive medication. Restart HCTZ.
        Pain:         Not Applicable
Seen for clinlc(s): Hypertension
Added to cllnlc(s): Hypertension

OBJECTIVE:
Temperature:
    .Datil            IJm.ll            Fahranhelt Celsius Location                      Provider
     08/10/2020       15:00 POX                 98.0        36. 7                        Markey, J. MD

Pulse:
     om            Iiml.               Rate Par Minute         Location                  Rhythm     Provider
     08/10/2020 15:00 POX                              89                                           Markey, J. MD
Respirations:
     .Di1v.                IIIDI.               Rate Pie Minute Provider
     08/10/2020            15:00 POX                           18 Markey, J. MD
Blood Pressure:
                                                 Location           Position            Cuff Size   Provider
     08/10/2020 15:00 POX 140/93                                                                    Markey, J. MD
Sa02:
     DD               Iiml.             Value(%) Air                           Provider
     08/10/2020       15:00 POX                  98                            Markey, J. MD

 ROS comments
    CONSTITUTIONAL: No weight loss, fever, chills, weakness or fatigue.
    HEENT: Eyes: No visual loss, blurred vision, double vision or yellow sclerae.
    ENT: No hearing toss, sneezing, congestion, runny nose or sore throat.
    SKIN: No rash or itching.
    CARDIOVASCULAR: No chest pain, chest pressure or ooest diS<X>mfort No palpitations or edema.
    RESPIRATORY: No shortness of breath, cough or sputum.
    GASTROINTESTINAL: No anorexia, nausea, vomiting or diarrhea. No abdominal pain or blood.
    GENITOURINARY: No Burning on urination.
    NEUROLOGICAL:+ headache. no dizziness. syncope, paralysis, ataxia. numbness or tingling in the extremities. No
    change in bowel or bladder control.
    MUSCULOSKELETAL: No muscle or back pain, joint pain or stiffness.
    HEMATOLOGIC: No anemia, bleeding or bruising.
    ENDOCRINOLOGIC: No reports of sweating, cold or heat intolerance. No polyuria or polydipsia.
Generated 08/11/2020 07:00 by Markey, J. MD                   Bureau of Prisons - POM                                      Page 1 of 2
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Inmate Name: CUMMINS, JABARI ZAKI                                                            Reg #: 227TT-009
Date of Birth: 03/23/1978                               Sex:      M Race: BLACK              Facility: POM
Encounter Date: 08/10/2020 15:00                        Provider: Markey, J. MO              Unit      F01

    ALLERGIES: No history of hives,       eczema or rhinitis.
 Exam Comments
    PATIENT AAOX3, NO ACUTE DISTRESS.
    HEAD: NORMOCEPHALIC, ATRAUMATIC.
    EYES: PERRLA, EOMI.
    ENT: INTACTED TVMPANIC MEMBRANE BILATERALLY, NO BULGING OR EFFUSION.
    PATENT NARES, NO CONGESTION OR DISCHARGED NOTED.
    NECK: MIDLINE TRACHEA, FULL ROM, NO JVD, NO LYMPHADENOPATHY, NO THYROMEGALY, NO CAROTID
    MURMURS OR BRUITS.
    SKIN: NO RASH.
    CARDIO: RRR, S1 S2, NO MURMURS, RUBS, OR GALLOPS.
    PULM: CTAB, NO CRACKLES, RONCHI OR WHEEZING.
    ABO: SOFT, NT, ND, BS+, NO RIGIDITY, NO GUARDING.
    UPPER EXT: FULL ROM, PALPABLE PULSES.
    LOWER EXT:FULL ROM, PALPABLE PULSES. NO PITTING EDEMA BILAT.
    NEURO: CN 2-12 GROSSLY INTACT, NO MOTOR DEFICIT, NO GAIT ABNORMALITIES.
ASSESSMENT:

Essential (primary) hypertension, 110 - Current

PLAN:
-New Medication Orders:
Rd               Medication                                                                               OrdarDate
                 hydroCHLOROthiazide Tablet/Capsule                                                       08/10/2020 15:00
                        Prescriber Order:        25 mg Orally - daily x 180 day(s)
                        Indication:   Essential (primary) hypertension

-New Non-Medication Orders:
Or.dac                           fraauancy            Duration           Details                          Ordered By
Blood Pressure                   One Time                                8/25/2020                        Markey, J. MD
                       Order Date:              08/10/2020
Schedule:
     Actiyjty                                                Date Schadulad Scheduled Provider
     Clinical Encounter                                      09/07/2020 00:00 Physician 01
          review flow sheet BP check
Disposition:
     Follow-up at Chronic Care Clinic as Needed

Patient Education Topic:a:
     Pate loitiated Format                           Handoyt[Tggic                           Provider                 outcome
     08/11/2020       Counseling                     Plan of Care                            Markey, J.               Verbalizes
                                                                                                                      Understanding

.Copay Required: No                           Cosign Required: No
TelephoneNerbal Order:          No
Completed by Markey, J. MD on 08/11/2020 07:00




Generated 08/11/2020 07:00 by Markey, J. MD               Bureau of Prisons - POM                                  Page 2 of 2
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                          EXHIBIT 3:
•    Inmate Education Data Transcript
•    Sentence Monitoring Computation Data
•    Certificates of Achievements
•    Letters in Support of Cummins' Compassionate Release
           Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 54 of 68
  FOM48           *              INMATE EDUCATION DATA            *         09-01-2021
PAGE 001          *                    TRANSCRIPT                 *         12:32:54

REGISTER NO: 22777-009         NAME . . : CUMMINS                     FUNC: PRT
FORMAT ....• : TRANSCRIPT      RSP OF: FOM-FORREST CITY MED FCI

                               EDUCATION INFORMATION ---------------------------
FACL ASSIGNMENT   DESCRIPTION                    START DATE/TIME STOP DATE/TIME
FOM ESL HAS       ENGLISH PROFICIENT             06-13-2003 164S CURRENT
FOM GED EN        ENROLL GED NON-PROMOTABLE      06-13-2003 1645 CURRENT
FOM GED SAT       GED PROGRESS SATISFACTORY      10-01-2019 1435 CURRENT

                                  EDUCATION COURSES -----------------------------
SUB-FACL    DESCRIPTION                      START DATE STOP DATE EVNT AC LV HRS
FOM         21ST CENTURY    EMPLOYABILITY    06-23-2021 07-23-2021  P C P       4
POM         PREGED 2B 9:00-10:30 M-F       02-25-2020    05-04-2021     P     W I            0
POM         CHOLESTEROL                    10-08-2020    10-22-2020     P     C P            4
POL         GED CLASSROOM 3 1230-1400      09-19-2019    02-07-2020     P     W I          270
POL         PLAYING GUITAR LIKE A PRO G.C. 11-05-2019    12-05-2019     P     C P           18
POL         GED CLASSROOM 3 1400-1530      09-17-2019    09-19-2019     C     W I            0
POL         AM PGED 1 B 10-1130 A.M.       03-18-2019    09-17-2019     C     W I            0
POL         STRESS AND YOUR BODY 1 RPPl    06-02-2019    06-23-2019     P     C P           12
POL         NUTRITION FITNESS MYTHS RPPl   06-05-2019    06-19-2019     P     C P            3
YAM         GED l,M-F,800-1000             12-31-2008    05-29-2009     P     W I          149
YAM         RPPS RELEASE REQUIREMENTS      03-24-2009    03-25-2009     P     C   P          1
YAM         RPP4 CCC/USPO/AUSA SEMINAR     03-24-2009    03-25-2009     P     C P            1
YAM         RPP2 DRESS FOR SUCCESS         03-24-2009    03-25-2009     P     C P            1
YAM         RPP6 COPING W/PRISON STRESS    03-25-2009    03-25-2009     P     C P            l
YAM         BUSINESS PLANNING 2            02-12-2009    03-05-2009     P     W V            4
YAM         RPPl NONRESID DRUG ABUSE TREAT 02-02-2009    03-02-2009     P     C   P          9
YAM         RPPl DRUG EDUCATION            02-02-2009    02-02-2009     P     C   P         27
YAM         RPPl RELAPSE PREVENTION        01-05-2009    02-09-2009     P     W V            3
YAM         RPPl INFECTIOUS DISEASE AWARE 12-11-2008     12-11-2008     P     C   P          1
FOR         GED 3:45-5:15 PM M-F           09-20-2005    04-03-2006     P     W   I        316
FOR         GED 12:30-2PM M-F              10-25-2004    08-29-2005     C     W   I          0
FOR         GED 10:30-12 FCI M-F           07-06-2004    10-25-2004     C   I W              0
FOR         GED 1-3 FCI M-F                12-09-2003    07-06-2004     C W I                0
FOR         PR~ GED 1-3 FCI M-F            09-30-2003    12-09-2003     C     C   P          0

----------------------------- HIGH TEST SCORES        ------------------------------
TEST         SUBTEST        SCORE    TEST D1\TE           TEST FACL   FORM     STATE
ABLE          LANGUAGE           6.7     08-12-2003      FOR
              NUMBER OPR         6.0     08-12-2003      FOR
              PROB SOLV          5.9     08-12-2003      FOR
              READ COMP          7.7     08-12-2003      FOR
             SPELLING            5.4     08-12-2003      FOR
             VOCABULARY          7.7     08-12-2003      FOR
GED          AVERAGE           440.0     08-30-2005      FOR           FAIL           AR
             LIT/ARTS          490.0     08-30-2005      FOR           IC             AR
             MATH              390.0     08-30-2005      FOR           IC             AR
             SCIENCE           430.0     08-30-2005      FOR           IC             AR
             SOC STUDY         430.0     08-30-2005      FOR           IC             AR
             WRXTXNG           460.0     08-30-200~      1-"0K         IC             AR

G0002       MORE PAGES TO FOLLOW
              Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 55 of 68
  FOM48         •               INMATE EDUCATION DATA                •          09-01-2021
PAGE 002 OF 002 •                     TRANSCRIPT                     •          12:32:54

REGISTER NO: 22777-009         NAME . . : CUMMINS                        FUNC: PRT
FORMAT ..... : TRANSCRIPT      RSP OF:    FOM-FORREST CITY MED FCI

-----------------------------     HIGH TEST SCORES    ------------------------------
TEST            SUBTEST        SCORE     TEST DATE        TEST FACL       FORM        STATE
GED    PRAC     AVERAGE         46.8     08-10-2005       FOR              FAIL
                 LIT/ARTS       49.0     08-23-2005       FOR              PB
                MATH           430.0     02-26-2009       YAM              PB
                SCIENCE         48.0     08-23-2005       FOR              PB
                soc   STUDY     51.0     08-23-2005       FOR              PB
                WRITING         49.0     08-23-2005       FOR              PB




G0O00          TRANSACTION SUCCESSFULLY COMPLETED
           Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 56 of 68
  FOM48    540*23 *                 SENTENCE MONITORING                  *     09-01-2021
PAGE 001            *                 COMPUTATION DATA                   *     12:30:38
                                      AS OF 09-01-2021
REGNO .. : 22777-009 NAME: CUMMINS, JABARI ZAKI

FBI NO ........... :    981849RA6                  DATE OF BIRTH: 03-23-1978      AGE:      43
ARSl ............. :    POM/A-DES
UNIT ............. :    UNIT A-2                   QUARTERS ..... : A02-207L
DETAINERS ........ :    NO                         NOTIFICATIONS: NO

HOME DETENTION ELIGIBILITY DATE: 09-27-2028

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
THE INMATE IS PROJECTED FOR RELEASE: 03-27-2029 VIA GCT REL


----------------------CURRENT        JUDGMENT/WARRANT   NO:   030 ------------------------

COURT OF JURISDICTION ........... : ARKANSAS, EASTERN DISTRICT
DOCKET NUMBER ................... : 4:17-CR-00111-JM-9
JUDGE ••••••••••••••••••••••••••• : MOODY
DATE SENTENCED/PROBATION IMPOSED: 09-05-2018
DATE COMMITTED . . . . . . . . . . . . . . . . . . : 11-21-2018
HOW COMMITTED .................•. : US DISTRICT COURT COMMITMENT
PROBATION IMPOSED ............... : NO
                    FELONY ASSESS     MISDMNR ASSESS FINES                COSTS
NON-COMMITTED.:     $100.00           $00.00         $00.00              $00.00

RESTITUTION ... :   PROPERTY:   NO    SERVICES:   NO           AMOUNT:   $00.00

-------------------------CURRENT  OBLIGATION NO: 010 ---------------------------
OFFENSE CODE .... : 391     21:846 SEC 841-851 ATTEMPT
OFF/CHG: 21:846; AND 841(A) (1) AND (B) (1) (B) CONSPIRACY TO POSSESS WITH
         INTENT TO DISTRIBUTE AND TO DISTRIBUTE HEROIN.

 SENTENCE PROCEDURE ........•••.• : 3559 PLRA SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE.:     188 MONTHS
 TERM OF SUPERVISION ............ :     5 YEARS
 NEW SENTENCE IMPOSED ........... :   160 MONTHS
 BASIS FOR CHANGE ............... : COURT ORDER MODIFYING SENTENCE
 DATE OF OFFRNSE ................ : 0S-31-2017




G0002        MORE PAGES    TO FOLLOW . . .
          Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 57 of 68
  FOM48 540*23 *                SENTENCE MONITORING                         09-01-2021
PAGE 002       *                  COMPUTATION DATA                  .*      12:30:38
                                  AS OF 09-01-2021

RBGNO .. : 22777-009 NAME: CUMMINS, JABARI ZAKI



-------------------------CURRENT COMPUTATION NO: 030 --------------------------
COMPUTATION 030 WAS LAST UPDATED ON 11-21-2020 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 12-17-2020 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 030: 030 010

DATE COMPUTATION BEGAN .......... : 09-05-2018
TOTAL TERM IN EFFECT •••••••••••• :      160 MONTHS
TOTAL TERM IN EFFECT CONVERTED .. :    13 YEARS        4   MONTHS
EARLIEST DATE OF OFFENSE ........ : 05-31-2017
JAIL CREDIT ..................... :      FROM DATE    THRU DATE
                                         11-16-2017   09-04-2018

TOTAL PRIOR CREDIT TIME ......... : 293
TOTAL INOPERATIVE TIME .......... : 0
TOTAL GCT EARNED AND PROJECTED •. : 720
TOTAL OCT EARNED •••••••.••••••.• : 162
STATUTORY RELEASE DATE PROJECTED: 03-27-2029
ELDERLY OFFENDER TWO THIRDS DATE: 10-06-2026
EXPIRATION FULL TERM DATE ....... : 03-17-2031
TIME SERVED ••••••••••••••••••••• :        3 YEARS     9 MONTHS          17 DAYS
PERCENTAGE OF FUI,I, TERM SERVED •. :   28.4
PERCENT OF STATUTORY TERM SERVED:       33.3

PROJECTED SATISFACTION DATE ..... : 03-27-2029
PROJECTED SATISFACTION METHOD ... : GCT REL

REMARKS ....... : 04-22-2020 UPDATED PURSUANT TO FSA/EAR; 11-21-20 REC'D REDUCT
                  ORDER REDUCING SENT FROM 188 MONTH TO 160 MONTHS C/SKG:




G0002        MORE PAGES TO FOLLOW . . .
          Certificate of Completion
                                        Presented to

                                      Jabarl Cummins

                               For successfully completing the

                                Drug Abuse Education Course

The Drug Abuse Education Course Is a minimum of 12 hours. The goal of this pro1ram Is to help
   the offender to make an accurate evaluation of the consequences of his/her alcohol/drug
                          use and consider the need for treatment.



           Af                                                    8/20/2021
         Drug Abuse Treatment Specialist                         Date
                                                                                                Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 58 of 68




                                      FCC Forrest City
                         Lf/.                                                                             Fl• 12.'I U




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           '1Jf~~~,y:                                        ·•·· .
                                           -L1it;.Jk '. f,~ ~A
    OF COMPLETION CHOLESTEROL
         SELF-STUDY CLASS
                       THIS CERTIFICATE IS AWARDED TO

I
                       J. Cummins #22777-009
    Date: 10-23-2020
                                                                      Recreational Specialist, A. Smith
                                                                                                                        Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 59 of 68
                                           /'

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                                         OF COMPLETION
            HEALTH AND WELLNESS
          THROUGHOUT THE LIFESPAN
              SELF-STUDY CLASS                                                                                              I
/                                   CUMMINS, JABARI REG.#22777-009




        Date: 09-18-2020                                                                                         v).1~
                                                                                                                  "'   --
                                                                                                                            Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 60 of 68
        Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 61 of 68

                                                     U.S. Department of Justice
                                                     Federal Bureau of Prisons
                                                     Federal Co"ectional Institution
                                                     Forrest City, AR 72335

                                                     September 1, 2021


MEMORANDUM FOR To whom it may concern                       A}
                                                             \
FROM:                     T. Holst, Correctional Counselor V'{)

SUBJECT:                  Inmate Cummins, Jabari #22777-009



I am \\ITiting this letter on behalf of inmate Cummins, Jabari #22777-009, regarding the time that I
have been in contact with Mr. Cummins in the capacity as one of his work supervisors.
I have been familiar with Mr. Cummins for approximately 1 year at FCC Forrest City, at the
Bureau of Prisons. Mr. Cummins has an outstanding work ethic, and is an example to other
inmates on the work detail that he is assigned to as to how an individual should carry themselves
in a prison setting on a work detail. He always reports to work making sure he completes his
assigned tasks correctly, and efficiently. I would like to now speak of Mr. Cummins character,
and what I have witnessed of him in this area Mr. Cummins is a very respectable person to
authority figures, and to his peers. He strives to be an example to other inmates that he has
contact with. I say this to have the reader understand that I believe that Mr. Cummins, if given the
chance to re-enter society would not regress back to his behavior that got him incarcerated. 1
believe that Mr. Cummins would be a productive citizen, who if given the opportunity would do
his very best to remain an active part of his community, and remain an individual dedicated to
making the remaining days of his life better for him, and those around him.
8'92021     Case 4:17-cr-00111-JM Document20210719_
                                           1083 115352.jpg
                                                    Filed 12/07/21 Page 62 of 68




          To whom it may concern.                                                July 19. 2021


          -l am Wl'itiAg this 1et1Bi tu expaess mj'"~1Uor Mr. Jabari Cummins--in his-efforts to
           have Act 3582 considered on his behalf. My name is Mark Green, and I have known
           Mr. Cummins since we were kids. Mr. Cummins acknowledges his mistakes, and he is
           remorseful for his past crime&, he has begun serving his sentence. and has expressed
           how he is taking advantage of personal development opportunities offered to him.

          Mr. Cummins has a great support system in place. He has a secure home, supportive
          family, he has expressed his willingness to obtaining trades while incarcerated that will
          help him gain employment upon release. Mr. Cummins has had many years to reflect
          on his past mistakes and is remorseful for his past actions.


          Mr. Cummina haa an in<ndibly aupportive and loving family, hia family needa to be
          restored by allowing him to work and provide financial support to his family, to be
          actively engaged and physically present to support and interact with his family.
          Please have sympathy and compassion when considering Mr. Cummins for Ad 3582
          (Reduction).




          Mark Green




                                                                                                      1/1
•       Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 63 of 68



To: Judge James M. Moody
500 West Capitol Avenue RM(4A)

Little Rock, Arkansas 72201


Dear Judge Moody:
        Please be advised this ~ n ~ c e is a support letter on behalf of a federal inmate
incarcerated at FCI li,rtt1t'~ Y'JIJ..     /lrf.    Jabari Zaki Cummins. Mr. Cummins currently
has a scheduled release date of March 27.2029. I am aware this release date is not anytime soon.
Due to Mr. Cwnmins having prCHOOSting medical conditions I would like to request a file review
on his behalf for consideration of an early release if he is eligi1>1e in accordance to the Care Act,
Second Chance Act or First Step Act for early release.

       Mr. Cumming and I A. Stewart grew up in the same community/neighborhood and have
known each other most of our lives. Mr. Cummins is a huabend and father of two male African
American sons ages seven and fifteen who need their father. Mr. Cummins father was estranged
and not present doing his child or adulthood. Mr. Cummins desire is to break the systemic
generational curse, which still exist in our community and other African American
communities/neighborhoods leaving children raising themselves with no parental guidance's or
supervision. This is Mr. Cummins life story growing up with no paternal guidance or supervision
and learning survival skills from the streets leading him down a path of trouble with the criminal
justice system.
       Mr. Cummins i.s very remorseful for his criminal behavior and bad choices accepting full
responsibility for his actions. Mr. Cummins deserve a second chance to become a productive
member of society, husband and to be the father he never had in Jife. Mr. CUmmins has the
knowledge though his unfortunate circumstances with the criminal justice system to help prevent
his sons and other young males from becoming a statistic and part of the same school to prison
pipeline he encountered.
         If Mr. Cummins ts eugn,1e ror early release. he bas a massive amount of support from
family/friends to assist with transitioning and retry back into the community as well as society.
Mr. Cummins would have gainful employment immediately upon release at lbaspin Transport,
U.C in the maintenance depalbncnt and the company will fully comply with all employment
conditions .related toms release of parole~ It is my prayer and hope the information provided in
this letter is taking into consideration on Mr. Cummins hehalf for early release. ff you have any
question, please feel free to contact me via phone (501) 247-6499 or email
                          . I appreciate your consideration in advance. Thank you.


       Respectfully'
       A. Stewart (Thaspin Transporation, LLC)
          Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 64 of 68




                                         Collins & Associates
                                       1200 Commerce Street
                                                    #913
                                   Little Rock, Arkansas 72202
                                             (SOI) 486-6344


Honorable James M. Moody, Jr.
500 W. Capitol Ave

#C446

Little Rocle, Arkansas 72201



March 7, 2021
Dear Judge Moody,

This Letter of Support is being written on behalf of Jabari Cummins F.CJ         Forr<St C,.1~ 1 ,li-..
It has been my pleasure to have personally known Jabari Cummins·s since his birth. Both his parents the
Late Acie Cummins, Sr, and Betsey Watson Cummins are classmates of mine, and Betsey is one of my
closes friends and former neighbors for over 60 years.
With that said. with my 30 plus years of experience in Community Development, designing and
administrating programs targeting At-Risk-youth and adults residing in Southeast Pulaski County.
Arkansas, Jabari and I met to discuss a number of programmatic initiatives he felt were doable.

During our discussion, I immediately recognized that Jabari processed a brilliant mind as well as a very
caring heart. After his last incarceration he realized that there were many men transitioning back into society
without the proper skills and foundation to make a successful transition, which only leads to re-
incarceration. Jabari was strong on the idea on providing a vehicle that would allow a smoother, more
successful reentry into society. This motivation provided the initiative for "J11st Right. Inc.I'·. This
transitional living center model for men reentering society after incarceration was born. Just Right Inc. is
designed to provide housing for up to 18 month, in-house training. as well as several in-house employment
opportunities for its residents to learn, build personal income as well as assist in providing funds for the
organization to flourish.
With my assistance Just Right, Inc. received its Arkansas Charter and Articles of Incorporation from the
Secretary· of State of Arkansas as well as its 50lc3 nonprofit recognition from the Internal Revenue Service.
Unfortunately, Judge Moody, this is as far as we were able to get due to Jabari·s most roccnt incarceration.
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Your Honor, in all honesty I sincerely believe that Jabari has thoroughly learned his lesson and is sincerely
ready to put his pass life and deeds behind him and start life anew. Jabari is blessed to have a strong wife,
son and an may of other family and e.\.1ended fiunily support system ready to assist him in his success once
he is released. Jabari has expressed to me his eagerness to ensure that Just Right, Inc. Transitional Living
Program for men exiting the prison system come to fruition, and I have assured him as I reiterate to you,
that I will do everything within my professional abilities and love to see that this most valuable and needed
initiative succeed. Therefore, J strong urge us to please look favorably on releasing Jabari Cummins back
into mainstream society.




President/CEO
Collins & Associates

Community Development Consultants


Cc: Jabari Cummins
       Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 66 of 68




Mrs. Betsy Watson Cummins
49 Baltmore St.
L.R.AR 72206


Reference: Jabari Zaki Cummins
To: Honorable Judge Moody
Federal Court Building

Presenting this letter to an authority has become an honor and a Challenge. Meeting
a deadline in the lives of my family members brings many vivid pictures of the road
to travel. It has become a privilege to be able to write this support letter on my son's
behalf as a parent. I am Mrs. Betsy J. Watson Cummins, the single parent of Jabari
Cummins. It's a challenge that the letter of support passes and meets the demand for
a release. All positive behavior has been shown along with discipline since Jabari
has been away. That's a strong initiative become a free son as well as a husband, and
father and nephew.

I do have confidence that upon decision being made of becoming a free and
productive citizen to another society is my objective. In the past there has been
programs that my son has developed, managed and successfully obtained the
privilege to give to another individual while away.·

Once again and finally, I am the parent of Zaki Cummins. I am one with complete
confidence and prayed upwards to my son's completion of sentencing that has been
given. I have accepted the responsible of monitoring where needed and available for
any disciplinary and corrections needed for tolerance is a large step for some
individual but not for Jabari. Uplift him were·his desire for a better life with family
and friends is acceptable factor. Also; the Smart Citizen's Act Meme Harper is en
route for Jabari's behalf.




Betsy J Cummins
        Case 4:17-cr-00111-JM Document 1083 Filed 12/07/21 Page 67 of 68


Dear James Moody

I am writing this letter on behalf of my husband which name is Jabari Zaki Cummins. In
regarding this letter I'm asking for and early release due to second chances at life and
compassion release. Since my husband has been incarcerated I have suffer from bipolar and
anxiety, depression to losing my husband to the systems and my only sister which is deceased
now. My life haven't been easy trying to raise my son without a father figure in his life. I try so
hard to maintain my daily lives around positive activities to keep sane. Now that my husband
has been incarcerated he has taking so many classes and have taken full responsibility of his
actions. If he is release he will resign at 5106 b. B. Circle with me and my son. All I'm asking is
could you please give him a second chance at life forgive my husband of his actions and think
about his kids that's been affected by this. I appreciate your consideration thank you!
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                                          U.S. Department of Justice

                                          Federal Bureau of Prisons
                                          Federal Correctional Complex
                                          Forrest City, AR 72335

                                          December 1, 2021


MEMORANDUM FOR                       Y CONCERN


FROM:                                      lex Supervisor of Recreation


SUBJECT:              Jabari Cummins, 122777-009


This memorandum referral is being respectfully submitted on behalf
of Jabari Cummins, #22777-009. Mr. Cummins has been actively
involved in various recreation programs and activities since his
arrival at FCC Forrest City. Mr. Cummins has been and continues to
be an active participant in instructional-based programs within
the department and has assisted the department and recreation
staff with various program assignments as an inmate recreation
aide in the areas of leisure and organized sports that aided in
providing quality recreation programs for the inmate population.
Mr. Cummins has continued to maintain a positive attitude with the
inmate population and departmental staff. Mr. Cummins demonstrates
a positive and excellent work ethic in his assigned duties as an
inmate recreation aide along with performing his assigned duties
efficiently on a daily basis.

Mr. Cummins contribution to the Recreation Department's programs
has been a vital asset in allowing the department meet it's goals
and overall mission on daily basis and your consideration in this
matter will be greatly appreciated.




~~~.,~~~,~ omplex Supervisor of Recreation
               City Complex Recreation Department
